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                                UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF IDAHO

                                                       )
 DAVID CALLISTER,                                                  Case No.
                                                       )
                                  Plaintiffs,          )
           -vs-                                        )           VERIFIED COMPLAINT
                                                       )
 CHET OWEN, an individual,                             )
                                                       )
                                    Defendant.
                                                       )
                                                       )



         COMES NOW, the Plaintiff, David Callister, by and through his attorney of record,

William L. Smith of Smith Horras, P.A., and alleges as follows:

                                                PARTIES

         1.       Plaintiff David Callister is and at all times material hereto was a resident of Eagle,

Idaho.

         2.       Upon information and belief, Defendant Chet Owen is a resident of Molalla,

Oregon.

                                   JURISDICTION AND VENUE

         3.       This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332. The Plaintiff is



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domiciled in Idaho and is a citizen of Idaho. Defendant is domiciled in Oregon and is a citizen of

Oregon (or states or nationalities other than Idaho). The amount in controversy, exclusive of

interests and costs, exceeds $75,000.00.

       4.         Venue is proper pursuant to 28 U.S.C. § 1391. The contract that is the subject of

this Complaint was entered into in the State of Idaho, and is governed according to the laws of the

State of Idaho.

                                    FACTUAL ALLEGATIONS

       5.         On October 24, 2016 Plaintiff sued Defendant based upon a variety of legal

theories, including Breach of Contract, Violation of the Idaho Consumer Protection Act, Fraud,

Conversion, and Breach of Fiduciary Duty (“First Lawsuit”).

       6.         The First Lawsuit was filed in the United States District Court for the District of

Idaho and assigned Case No. 1:16-cv-00474-CWD.

       7.         On or about May 4, 2017, Defendant Owen entered into a Confidential Release and

Settlement Agreement with Plaintiff Callister.

       8.         As part of the Confidential Release and Settlement Agreement, the parties agreed

to a payment plan.

       9.         The details of the payment plan set forth in the Confidential Release and Settlement

Agreement are as follows:

                  The payments shall be made as follows (collectively "Payment
                  Plan"):
                  a. First Payment: Ten Thousand Dollars ($10,000.00) in United
                  States currency delivered on or before fourteen (14) calendar days
                  after the Stipulation to Dismiss Amended Complaint Without
                  Prejudice ("Stipulation") is filed with the Court;
                  b. Second Payment: Ten Thousand Dollars ($10,000.00) in United
                  States currency delivered on or before forty-five (45) calendar days
                  after the First Payment in paragraph 2.a. above;



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                 c. Third Payment: Fifty Thousand Dollars ($50,000.00) in United
                 States currency delivered on or before six (6) months after the
                 Second Payment in paragraph 2.b. above;
                 d. Fourth Payment: Fifty Thousand Dollars ($50,000.00) in United
                 States currency delivered on or before eight (8) months after the
                 Third Payment in paragraph 2.c. above;
                 e. Fifth Payment: Thirty Thousand Dollars ($30,000.00) in United
                 States currency delivered on or before eight (8) months after the
                 Fourth Payment in paragraph 2.d. above.

        10.      If the payment plan was not fully complied with by Defendant Owen, the parties

agreed that Defendant Owen would confess Judgment in the amount of two hundred thousand

dollars and no cents ($200,000).

        11.      A true and correct copy of the Affidavit of Chet Owen for Confession of Judgment

is attached hereto as Exhibit 1.

        12.      Owen timely made the First Payment and the Second Payment.

        13.      The Third Payment was due on January 15, 2018.

        14.      As of the date of the filing of this Complaint, Defendant Owen has not made the

Second Payment or any subsequently due payment.

        15.      Because of Defendant Owen’s failure or refusal to timely make the Third Payment,

Plaintiff Callister is authorized to enforce the Confession of Judgment sworn to by Defendant

Owen.

        16.      Since December 13, 2016, Defendant Owen has been represented by the law firm

known as Jones & Swartz, PLLC.

        17.      Despite having no obligation to provide written notice to Defendant’s counsel of

Defendant’s failure to comply with the terms of the Payment Plan, Plaintiff’s counsel has provided

notice to Defendant’s counsel and Defendant’s counsel has confirm that Defendant Owen is aware

of Plaintiff’s intention to seek entry of the confessed Judgment.



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                                 FIRST CAUSE OF ACTION
                       Breach of Contract – Entry of Confessed Judgment

       18.      Plaintiff re-alleges and incorporates all paragraphs above herein.

       19.      Defendant Chet Owen entered into a sworn affidavit confessing judgment in this

matter in the event Defendant Owen failed to timely make the third payment due pursuant to the

Payment Plan.

       20.      As a result of Defendant Chet Owen’s failure to perform his obligations set forth in

the Confidential Release and Settlement Agreement, Judgment should be entered in the amount of

the confessed Judgment, to wit: $200,000.00.

                                      PUNITIVE DAMAGES

       If this matter is contested, Plaintiff intends to move to amend the Complaint to include

allegations supporting and a prayer for punitive damages pursuant to Idaho Code, Section 6-

1604(2).

                                     PRAYER FOR RELIEF

       WHEREFORE, David Callister prays for judgment against Defendant Chet Owen as

follows:

       A.       In the event of default:

             a. For the principal sum of $200,000;

             b. For reasonable post-judgment attorneys’ fees pursuant to Idaho Code, Section 12-

                120(5) in an amount to be determined upon further application to the Court;

             c. For post-judgment interest pursuant to 28 U.S.C. 1961;

             d. For costs of suit herein in an amount to be determined; and

             e. For such other and further relief as the Court deems just and proper.

       B.       In the event this matter is contested:


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